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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        MICRON TECHNOLOGY, INC.,
                                   7                                                         Case No. 4:17-cv-06932-JSW
                                                       Plaintiff,
                                   8
                                                v.                                           ORDER SETTING CASE
                                   9                                                         MANAGEMENT CONFERENCE AND
                                        UNITED MICROELECTRONICS                              REQUIRING JOINT CASE
                                  10    CORPORATION, et al.,                                 MANAGEMENT CONFERENCE
                                                                                             STATEMENT
                                  11                   Defendants.

                                  12          TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          The above matter having been reassigned to the Honorable Jeffrey S. White, it is hereby

                                  14   ordered that, pursuant to Fed. R. Civ. P. 16(b) and Civil L. R. 16-10, a Case Management

                                  15   Conference shall be held in this case on March 9, 2018, at 11:00 A.M., in Courtroom 5, 2nd Floor,

                                  16   Federal Courthouse, 1301 Clay Street, Oakland, California.

                                  17          Plaintiff(s) shall serve copies of this Order immediately on all parties to this action, and on

                                  18   any parties subsequently joined, in accordance with Fed. R. Civ. P. 4 and 5. Following service,
                                  19   plaintiff(s) shall file with the Clerk of the Court a certificate reflecting such service, in accordance

                                  20   with Civil L. R. 5-5(a).

                                  21          The parties shall appear in person through lead counsel to discuss all items referred to in

                                  22   this Order and with authority to enter stipulations, to make admissions and to agree to further

                                  23   scheduling dates.

                                  24          The parties shall file a joint case management statement no later than five (5) court days

                                  25   prior to the conference. The joint case management statement shall address all of the topics set

                                  26   forth in the Standing Order for All Judges of the Northern District of California - Contents of Joint
                                  27   Case Management Statement, which can be found on the Court’s website located at

                                  28   http://www.cand.uscourts.gov. See N.D. Civ L.R. 16-9. If any one or more of the parties is
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                                   1   proceeding without counsel, the parties may file separate case management statements.         Separate

                                   2   statements may also address all of the topics set forth in the Standing Order referenced above.

                                   3   Any request to reschedule the date of the conference shall be made in writing, and by stipulation if

                                   4   possible, at least ten (10) calendar days before the date of the conference and must be based upon

                                   5   good cause. In order to assist the Court in evaluating any need for disqualification or recusal, the

                                   6   parties shall disclose to the Court the identities of any person, associations, firms, partnerships,

                                   7   corporations or other entities known by the parties to have either (1) financial interest in the

                                   8   subject matter at issue or in a party to the proceeding; or (2) any other kind of interest that could

                                   9   be substantially affected by the outcome of the proceeding. If disclosure of non-party interested

                                  10   entities or persons has already been made as required by Civil L. R. 3-16, the parties may simply

                                  11   reference the pleading or document in which the disclosure was made. In this regard, counsel are

                                  12   referred to the Court's Recusal Order posted on the Court website at the Judges Information link at
Northern District of California
 United States District Court




                                  13   http://www.cand.uscourts.gov.

                                  14          IT IS SO ORDERED.

                                  15   Dated: January 30, 2018

                                  16                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  17                                                     United States District Judge
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